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                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF RHODE ISLAND

  ---------------------------------------------------------------X
  JOHN DOE,                                                      :   Civ. No. 15-cv-00144-S-LDA
                                                                 :
                                      Plaintiff,                 :
                                                                 :
                    -against-                                    :
                                                                 :
  BROWN UNIVERSITY                                               :
    in Providence in the State of Rhode Island                   :
    and Providence Plantations,                                  :
                                                                 :
                                      Defendant.                 :
  ---------------------------------------------------------------X

   INDEX OF EXHIBITS CITED IN PLAINTIFF’S STATEMENT OF DISPUTED FACTS
              AND INFERENCES WITH RESPECT TO DEFENDANT’S
                     MOTION FOR SUMMARY JUDGMENT

  EXHIBIT                                  DESCRIPTION                             EXHIBITS FILED
    NO.                                                                             UNDER SEAL

                                                                                    NOTED WITH
                                                                                       “X”
       1         Paxson Email April 26, 2014
       2         Paxson Email May 9, 2014
       3         Deposition of Christina Paxson dated March 13, 2017, p.                   X
                 37
        4        Paxson Deposition, Exhibit 4                                              X
        5        SATF Interim Report, Appendix C
        6        SATF Interim Report, Appendix E
        7        SATF Interim Report, List of Members/Staff
        8        Deposition of Russell Carey Exhibits 9 and 10                             X
        9        SATF Interim Report Cover Letter to President
       10        Deposition of Russell Carey dated May 18, 2017, pp. 57,                   X
                 75 and 93
       11        Brown Daily Herald article, November 30, 2015 Re: Rape
                 List
       12        Brown Daily Herald article, April 23, 2014 Re: Lena Sclove
                 Press Conference
       13        Brown Daily Herald article, May 23, 2014 Re: Lena Sclove
                 OCR Complaint
       14        Lena Sclove OCR Complaint
       15        Legal Momentum Website

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     16       Brown Daily Herald article, March 5, 2015 Re: Dean Ward
     17       Web of Caring
     18       Deposition of Margaret Klawunn dated February 24, 2017,            X
              p. 18
      19      Deposition of John Doe dated August 11, 2016, pp. 135-136          X
      20      BROWN 1491-1492-Klawunn Email                                      X
     20A      BROWN 1262                                                         X
      21      BROWN 126-128-W&I Records                                          X
      22      BROWN 1326-W&I Records                                             X
      23      BROWN 536-600                                                      X
      24      BROWN 602                                                          X
      25      Brown Academic Calendar 2014-2015
      26      Deposition of Matthew Dawson dated May 2, 2017, p. 43              X
      27      BROWN 3510-3512-Dawson Outline                                     X
      28      BROWN 3537-McMillan Email                                          X
      29      BROWN 3290-SCB Hearing                                             X
      30      Chart of BROWN 3290                                                X
      31      Brown SCB Transcript Excerpts                                      X
      32      Deposition of Joseph Meisel dated August 9, 2017, p. 40            X
      33      BROWN 1760-Meisel Email                                            X

                                    Plaintiff John Doe,
                                    By his attorneys,

                                    NESENOFF & MILTENBERG, LLP
                                    Attorneys for Plaintiff John Doe
  February 12, 2018
                                    By: /s/ Andrew T. Miltenberg
                                    Andrew T. Miltenberg, Esq.(admitted pro hac vice)
                                    Tara Davis, Esq. (admitted pro hac vice)
                                    363 Seventh Avenue, Fifth Floor
                                    New York, New York 10001
                                    (212) 736-4500
                                    tdavis@nmllplaw.com
                                    amiltenberg@nmllplaw.com

                                           -and-

                                    local counsel for Plaintiff John Doe,

                                    By: /s/ Samuel D. Zurier
  February 12, 2018                 Samuel D. Zurier, Esq. (Bar No. 3576)
                                    55 Dorrance Street, Suite 400
                                    Providence, RI 02903
                                    (401) 861-0200
                                    sdz@zurierlaw.com

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                                    CERTIFICATE OF SERVICE


           I hereby certify on this 12th day of February, 2018, a copy of the foregoing was filed
  electronically with this Court. Notice of this filing will be sent by operation of the Court’s
  electronic filing system to all parties indicated on the electronic filing receipt. Parties may access
  this filing through the Court’s CM/ECF system


                                                        /s/ Andrew T. Miltenberg
                                                        Andrew T. Miltenberg, Esq.




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